Motion DENIED.
This the ____          March
          26thday of ___________,   20
                                  20___.

/s/Louise W. Flanagan, U.S. District Judge
                               IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA, WESTERN DIVISION

                                                   NO. 5:18-CR-00452-1-FL


               UNITED STATES OF AMERICA

                        v.

               LEONID ISAAKOVICH TEYF,                                     MOTION TO RESTORE
                                                                            ORDER OF TRIALS
                   Defendant




                        Defendant Leonid Isaakovich Teyf respectfully moves the Court for an order directing that

             the trial on Counts 1-9, 11-13, 17-19, 21-24, 30, 31, 35, 36, 40, 41, 44-46, 48 and 49 (the “ML

             Counts”) commence prior to the trial on Counts 27-29 (the “MFH Counts”), as originally ordered

             by the Court on March 11, 2020. (D.E. 524). As set forth below, in light of the continuance of

             both trials, the reasons advanced by the Government resulting in the Court’s decision to reverse

             the order of the trials are no longer applicable. Restoring the order of the trials would not prejudice

             the Government. However, keeping the current reversed order of the trials unfairly prejudices Mr.

             Teyf.

                        By way of background, on March 11, 2020, the Court issued an order severing the MFH

             Counts from the ML Counts and directing that the trial on the MFH Counts be held at a date to be

             determined after the trial on the ML Counts then scheduled to commence on March 16, 2020 (D.E.

             524). Later that day, the Government submitted an expedited motion requesting that the Court

             reverse the order and commence trial on the MFH Counts first, on the basis that certain purported

             evidentiary issues resulting from severance and the immediacy of trial “would best be served by

             allowing forethought and planning on both the parties and the Court to ensure a fair trial to both the




                             Case 5:18-cr-00452-FL Document 557 Filed 03/26/20 Page 1 of 1
